        Case 3:20-cv-02157-RDM Document 15 Filed 09/30/21 Page 1 of 1




                      THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

RONALD DIETRICK AND
CATHERINE DIETRICK,

                     Plaintiffs,                  3:20-CV-2157
      V.                                          (JUDGE MARIANI)

BARNETT OUTDOORS, LLC,

                     Defendant.


                            ~             ORDER

      AND NOW, THIS      .12._. DAY OF SEPTEMBER 2021, upon consideration of
Defendant Barnett Outdoors, LLC's "Motion to Dismiss," (Doc. 3), and all relevant

documents, for the reasons set forth in the accompanying Memorandum Opinion, IT IS

HEREBY ORDERED THAT:

   1. Defendant's Motion to Dismiss Plaintiffs' claim for breach of warranty (Count Ill) is
      DENIED;

   2. Defendant's Motion to Dismiss Plaintiffs' claim for punitive damages (Count IV) is
      GRANTED.
